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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                 CRIMINAL MINUTES – GENERAL

               LACR 19-00642-VAP 
 Case No.                                                             Date     January 21, 2021
               LACR 20-00155-VAP
 Title United States of America v. Imaad Shah Zuberi



 Present: The Honorable          VIRGINIA A. PHILLIPS, UNITED STATES DISTRICT JUDGE


               Christine Chung                                            Not Reported
                Deputy Clerk                                             Court Reporter


     Attorney(s) Present for Plaintiff(s):                    Attorney(s) Present for Defendant(s):
                    None                                                       None


 Proceedings:       MINUTE ORDER RE: SEALING OF DOCKET ENTRIES (IN CHAMBERS)


         In preparation for the sentencing hearing set for February 4, 2021, the Court has reviewed
all the documents submitted by the parties, many filed under seal. Although the Court initially
approved the applications to file under seal based on counsel’s attestations that compelling
interests favored sealing, it now concludes that no good cause existed for the sealing of dozens of
documents. For example, the parties filed under seal publicly available materials (including
reports from the United States Sentencing Commission and public health warnings regarding the
COVID 19 pandemic), press releases, news articles, and decades-old letters of recommendation
from Defendant’s undergraduate professors. On January 5, 2021, the Court ordered the parties
to address whether sealed entries on the docket of this case should be unsealed.1 The
Government and Defendant filed timely responses on January 11, 2021.

        In the Ninth Circuit, there is a “strong presumption in favor of access to court records.”
Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003). This includes
“access to criminal proceedings and documents filed therein,” and “extends to pretrial
proceedings as well as in the trial itself.” CBS, Inc. v. U.S. Dist. Court for Cent. Dist. of Cal.,
765 F.2d 823, 825 (9th Cir. 1985). Such access “is not absolute and can be overridden given
sufficiently compelling reasons for doing so,” however. Foltz, 331 F.3d at 1135. The law

        1
         The Court attached to its January 5 Order correspondence from a news media
        outlet requesting access to the sealed filings. The Court since has received
        correspondence from multiple media outlets requesting the same.

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“recognizes two qualified rights of access to judicial proceedings and records, a common law
right to inspect and copy public records and documents, including judicial records and
documents, and a First Amendment right of access to criminal proceedings and documents
therein.” United States v. Bus. of Custer Battlefield Museum & Store, 658 F.3d 1188, 1192 (9th
Cir. 2011) (internal quotation marks omitted).

          The Court notes that in some instances the Government filed documents under seal but
also filed appropriately redacted or anonymized versions in the public record, e.g., Doc. Nos. 40
and 42.2 After conducting a review of every item filed under seal, the Court finds no compelling
interest outweighs the public’s interest in access to records of judicial proceedings as to the
following docket entries:3

        Doc. Nos. 46 and 52
        Doc. No. 53 (Decl. of D. O’Brien)4
              Exs. 2-5, 7, 9-15
        Doc. Nos. 64, 66 and 67
        Doc. Nos. 82 and 93
        Doc. No. 94 (Decl. of D. O’Brien)
              Exs. 1-4, 6-8, 10, 11, 13, 14, 17, 18
        Doc. No. 96
        Doc. No. 97 (Decl. of D. O’Brien)
              Exs. 5, 8-11
        Doc. No. 99
        Doc. No. 100 (Decl. of D. O’Brien)
              Exs. 1, 7, and 11
        Doc. No. 1035 (Decl. of N. Brown)
              Exs. 3-6, 12, 15-25
        Doc. Nos. 102 and 104
        Doc. Nos. 106 and 108
        Doc. Nos. 111-114
        Doc. No. 117
        Doc. No. 119
        Doc. No. 126 (Decl. of N. Brown)
              Exs. 3-9, 11

        2
         All of the references to the docket in this Order are to entries in case number LACR
        19-00642-VAP-1.
        3
          As discussed below, limited redactions in these documents may be needed to preserve
        the privacy of some third parties or protect the integrity of ongoing criminal
        investigations.
        4
         When declarations are ordered unsealed, the paragraphs within them describing
        exhibits that are to remain sealed shall be redacted.
        5
          Doc. No. 103, the Declaration of Nathan Brown, is not ordered unsealed. Only the
        listed exhibits attached to the declaration are to be unsealed.

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        Doc. Nos. 129, 131, 139, and 143
        Doc. Nos. 150, 152, 159, 167, and 170
        Doc. Nos. 180, 184, 192, and 197
        Doc. Nos. 208, 219, 221, 223, and 246-249
        Doc. Nos. 251-254
        Doc. No. 255 (Decl. of I. Wang)
              Exs. 1-8, 11, 12, 15-26, 28-43, 45, 47-53
        Doc. No. 257
        Doc. No. 258 (Decl. of D. O’Brien)
              Exs. 1, 2A, 5, 5A, 6, 7, 9, 10A, 10B, 13-18A, 18B
        Doc. Nos. 260 and 263
        Doc. No. 266
        Doc. No. 267 (Decl. of D. O’Brien)
              Exs. 1A-D, 2, 3A-B, 4, 4A, 5, 6A-E, 7
        Doc. No. 270
        Doc. No. 271 (Decl. of D. O’Brien)
              Exs. 1A, 1B, 2A, 2B, 3, 4A, 5B, 6, 6A, 6B, 7
        Doc. No. 273
        Doc. No. 276

        The Court orders the parties to lodge with the Court copies of the documents listed above
with proposed redactions or changes (i.e., substitution of pseudonyms) only to protect personal
identifying information (e.g., residential addresses and Social Security numbers), the identity of
third parties, or references to documents not ordered unsealed, no later than January 26, 2021.
The parties shall lodge the proposed redacted versions of the documents by emailing them to the
VAPChambers email address, indicating the proposed redactions by using black highlight and
without making the redactions permanent, i.e., burning the redactions into the images. The
parties shall submit each document with the original docket entry in the title of the document.
The party that filed the original document is responsible for lodging the proposed redacted
version of the document. The Court will review the proposed redactions and will determine
which are appropriate. In the event that the parties submit proposed redactions that go beyond
the purposes stated above, the Court may order the document unsealed without redaction. Upon
approval of any proposed redactions, the redacted versions of the sealed docket entries will be
filed on the public docket of this case.

       The remaining documents filed under seal, including, inter alia, transcripts of grand jury
proceedings and materials reflecting ongoing investigations, shall remain sealed, for the
following reasons.

        Courts ask two questions to determine whether a qualified First Amendment right
of public access applies to a particular proceeding or document: (1) “whether the place and
process have historically been open to the press and general public”; and (2) “whether public
access plays a significant positive role in the functioning of the particular process in question.”
Press-Enter. Co. v. Super. Ct., 478 U.S. 1, 8 (1986). Here, sentencing proceedings have
historically been open to the public, and access to them plays a significant role in informing the
public of the bases for the Court’s sentencing decision. Even when this test is satisfied, however,

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the public’s First Amendment right of access establishes only a strong presumption of openness,
and “the public still can be denied access if closure ‘is necessitated by a compelling
governmental interest, and is narrowly tailored to serve that interest.’” Times Mirror Co. v.
United States, 873 F.2d 1210, 1211 n.1 (9th Cir. 1989) (quoting Press-Enter. Co. v. Super. Ct.,
464 U.S. 501, 509-10 (1984)).

         The Ninth Circuit has held a “qualified First Amendment right of public access attaches
to in-court sentencing proceedings” including: “the government’s motion to reduce a high-profile
defendant’s sentence under Federal Rule of Criminal Procedure 35(b) for post-sentencing
assistance in investigating or prosecuting another person;” a “plea agreement cooperation
addendum;” “the government’s motion to seal the plea agreement and memorandum in support
of it;” “the district court’s orders granting the government’s motion to seal;” “the defendant’s
plea colloquy transcript;” and “the transcripts of those portions of the hearings on the
government’s motion to seal that were open to the public.” United States v. Doe, 870 F.3d 991,
997 (9th Cir. 2017) (collecting cases). Here, the public has a right of access to documents or
items filed to support the position espoused by the Government or the defense regarding a
defendant’s sentence on criminal charges.

        That right is a qualified one. “[C]riminal proceedings and documents may be closed to
the public without violating the [F]irst [A]mendment only if three substantive requirements are
satisfied: (1) closure serves a compelling interest; (2) there is a substantial probability that, in the
absence of closure, this compelling interest would be harmed; and (3) there are no alternatives to
closure that would adequately protect the compelling interest.” Oregonian Publ’g Co. v. U.S.
Dist. Ct. for Dist. of Or., 920 F.2d 1462, 1466 (9th Cir. 1990); see also Times Mirror Co. v.
United States, 873 F.2d at 1211 n.1. “The court must not base its decision on conclusory
assertions alone, but must make specific factual findings.” Oregonian, 920 F.2d at 1466.

        In this case, the Court concludes each of the Oregonian requirements have been satisfied
as to the documents filed under seal other than those listed above. First, denial of public access
to these document serves several compelling interests, including the integrity of ongoing
criminal investigations; the Government’s interest in protecting matters of national security; the
reputational and safety interests of uncharged third parties; and the need to assure the safety of
Defendant and his family. Should these documents be unsealed, each of these compelling
interests would be harmed. Moreover, the Court has considered alternatives to sealing these
records, including employing redactions or pseudonyms, and has found that for the documents it
is ordering unsealed these devices will suffice. After careful examination of the remaining
documents, however, it finds such alternatives would not sufficiently protect the compelling
interests described above. The Court concludes these remaining documents must remain sealed
due to “compelling governmental interest[s], and [their continued sealing] is narrowly tailored to
serve that interest.” Times Mirror Co., 873 F.2d at 1211 n.1 (internal quotation marks and
citation omitted).

        IT IS SO ORDERED.




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